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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF INDIANA
                          SOUTH BEND DIVISION


 UNITED STATES OF AMERICA               )
                                        )
              v.                        ) CAUSE NO. 3:11-CR-143(02)RM
                                        )
 JASON GRAHAM                           )


                                    ORDER

       No objections have been filed to the magistrate judge’s findings and

 recommendations upon a plea of guilty issued on January 19, 2012. Accordingly,

 the court ADOPTS those findings and recommendations [docket # 37], ACCEPTS

 defendant Jason Graham’s plea of guilty, and FINDS the defendant guilty of

 Counts 1 and 2 of the Indictment, in violation of 21 U.S.C. §§ 841(a)(1) and

 856(a)(1).

       SO ORDERED.

       ENTERED:     February 13, 2012



                                /s/ Robert L. Miller, Jr.
                              Judge, United States District Court
